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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 George E. Norcross, III, Gregory B.      :
 Braca, and Philip A. Norcross,           :
                       Plaintiffs,        :
                                          :   CIVIL ACTION
              vs.                         :   NO. 22-cv-04953 (BMS)
                                          :
 Republic First Bancorp, Inc., Harry      :
 Madonna, Andrew B. Cohen, Lisa
 Jacobs, Harris Wildstein, Peter B.       :
 Bartholow, and Benjamin C. Duster,       :
 IV,                                      :
                                          :
                       Defendants.        :
                                          :
                                          :
                                          :
           PLAINTIFFS’ MOTION FOR EXPEDITED REMAND
      Pursuant to 28 U.S.C. § 1447(c), Plaintiffs George E. Norcross, III, Gregory

B. Braca, and Philip A. Norcross (“Plaintiffs”) respectfully move this Court for an

order remanding this case to the Philadelphia Court of Common Pleas and imposing

sanctions on Defendants, as set forth in the attached Proposed Order. The bases for

this motion are set forth in Plaintiffs’ accompanying memorandum of law,

Declaration of Laura E. Krabill, Esq., and attached exhibits, which are incorporated

herein by reference.

      WHEREFORE, Plaintiffs respectfully request that the Court enter the

attached Proposed Order remanding the case, impose sanctions on Defendants, and

grant such other and further relief as the Court deems just and proper.
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Dated: December 19, 2022           Respectfully submitted,

                                   /s/ Laura E. Krabill
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